                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                               Plaintiff,         )
                                                  )
                       v.                         )
                                                  )                    No. 3:21-CR-80-TAV-DCP
 TYLER L. SWANSON,                                )
                                                  )
                               Defendant.         )

                                            ORDER

         All pretrial motions in this case have been referred to the undersigned United States

 Magistrate Judge pursuant to 28 U.S.C. § 636(b) for disposition or report and recommendation as

 may be appropriate. The parties appeared before the undersigned on October 26, 2021, for a

 motion hearing on Defendant’s Motion for Leave to File Motion(s) [Doc. 17], argument on

 Defendant’s request for a Franks hearing, and an evidentiary hearing on the issue of the

 voluntariness of Defendant’s statement in his Motion to Suppress [Doc. 18]. Assistant United

 States Attorney Alan S. Kirk and Intern Jason Trautwein appeared on behalf of the Government.

 Attorney Troy L. Bowlin, II, represented Defendant Tyler L. Swanson, who was also present.

    I.      Additional Motions

         Defendant moves [Doc. 17] the Court to extend the September 20, 2021 motion deadline

 sixty days to provide counsel additional time to complete his investigation, to include analysis of

 expert reports on forensic examinations of firearms and suppressors. At the hearing, Mr. Bowlin

 stated that Defendant has yet to locate a firearms expert to review the data from the Government’s

 expert and to conduct additional testing. He stated that any additional motions would relate to

 experts and testing. He anticipated that testing by his expert would not take long but could




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 potentially last until mid-December. The Government responded [Doc. 18] that it does not oppose

 Defendant’s request for additional time to file motions. At the hearing, Mr. Bowlin indicated that

 because of the expense associated with hiring a firearms expert, the Defendant preferred to wait

 for a resolution of his suppression motion, which could render a firearms expert unnecessary.

          The Court finds Defendant has shown good cause for a sixty-day extension of his motion

 deadline and that this request is not opposed by the Government. Accordingly, Defendant’s

 Motion for Leave to File Motion(s) [Doc. 17] is GRANTED. Defendant may file motions relating

 to experts or expert testing on or before November 19, 2021. The Court declines to extend the

 motion deadline to mid-December at this time. If Defendant determines that additional time is

 necessary to file motions relating to experts or expert testing, he must file another motion for an

 extension and must address the impact of a late motion on the February 8, 2021 trial date.

    II.      Supplemental Proof of Preliminary Showing for Franks Hearing

          Defendant argues [Doc. 18] that the affidavit of Special ATF Agent James Makemson

 contains false statements and/or material omissions regarding alleged firearms suppressors or

 silencers. Defendant requests a Franks hearing on this issue.

          A reviewing court’s evaluation of whether an affidavit establishes probable cause is

 typically limited to only the information that was before the issuing judge, i.e., only what is

 contained within the four corners of the supporting affidavit. United States v. Brooks, 594 F.3d

 488, 492 (6th Cir.), cert. denied, 560 U.S. 959 (2010). “In a Franks hearing, a court determines

 whether to suppress the fruits of an executed search warrant, where the warrant was the result of a

 false statement.” United States v. Crawford, 943 F.3d 297, 309 (6th Cir. 2019) (citing Franks v.

 Delaware, 438 U.S. 154, 171 (1978)). “A defendant challenging the validity of a search warrant’s

 affidavit bears a heavy burden.” United States v. Bateman, 945 F.3d 997, 1008 (6th Cir. 2019).



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 An affidavit supporting a search warrant is presumed to be valid. Franks, 438 U.S. at 171. A

 defendant seeking a Franks hearing, “must make a ‘substantial preliminary showing that a false

 statement knowingly and intentionally, or with reckless disregard for the truth, was included by

 the affiant in the warrant affidavit.’” Crawford, 943 F.3d at 309 (quoting Franks, 438 U.S. at 171).

 “‘The allegedly false statement,’ moreover, must be ‘necessary to the finding of probable cause.’”

 Id.

              At the October 26 hearing, Mr. Bowlin stated he believed that by setting a hearing on his

 Motion to Suppress, the Court had granted his request for a Franks hearing. He stated that he

 expected Agent Makemson would be present at the October 22 hearing and could be questioned

 about the false statements in the affidavit. The Court informed defense counsel that it has yet to

 determine whether Defendant has carried his burden of making a substantial preliminary showing

 that the affiant made a knowing or recklessly false statement that is necessary to the probable cause

 finding. The Court permitted Defendant to make a supplemental filing on or before November 3,

 2021, on the issue of the substantial preliminary showing. If the Defendant submits a filing by this

 deadline, the Government may respond by November 10, 2021. Thereafter, the Court will

 determine whether Defendant is entitled to a Franks hearing.

       III.      Conclusion

                 Accordingly, the Court ORDERS as follows:

                     (1) Defendant’s Motion for Leave to File Motion(s) [Doc. 17] is
                         GRANTED. Defendant may file motions relating to experts or
                         expert testing on or before November 19, 2021;

                     (2) Defendant’s oral request to submit a supplemental filing on the
                         issue of the substantial preliminary showing required for a
                         Franks hearing is GRANTED. Defendant shall make his
                         supplemental filing on or before November 3, 2021;




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             (3) If the Defendant submits a supplemental filing, the Government
                 may respond by November 10, 2021.

       IT IS SO ORDERED.

                                                 ENTER:

                                                 ____________________________
                                                 Debra C. Poplin
                                                 United States Magistrate Judge




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